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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                              Roanoke Division

KIMBERLY RENAE ANDREWS,

                     Plaintiff,

v.                                           CIVIL ACTION NO. 7:18cv281
                                             Judge Glen E. Conrad

VIRGINIA POLYTECHNIC INSTITUTE
AND STATE UNIVERSITY and
COMMONWEALTH OF VIRGINIA,


                     Defendants.


             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Defendants, by counsel, move for summary judgment pursuant to Rules 56(a)

and 56(c) of the Federal Rules of Civil Procedure on the basis that the attached

exhibits and contemporaneously filed MEMORANDUM IN SUPPORT establish that

“there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” As discussed in the contemporaneously filed

memorandum and as evidenced by the attached exhibits, Plaintiff’s claims fail for the

following reasons:

      1. Plaintiff cannot establish that she was subjected to a race-based hostile

         work environment because her allegations of harassment were not

         sufficiently severe or pervasive and do not alter the conditions of her

         employment;
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      2. Plaintiff voluntarily resigned her position and was not constructively

         discharged;

      3. Plaintiff cannot establish a race discrimination claim based upon the

         evidence revealed in discovery; and

      4. Plaintiff cannot establish a retaliation claim based upon the evidence

         revealed in discovery.

      WHEREFORE, based on the foregoing, Defendants request this Court award

them summary judgment on all Plaintiff’s claims and award any other relief this

Court deems just and appropriate.

                                        Respectfully submitted,

                                        VIRGINIA POLYTECHNIC INSTITUTE
                                        AND STATE UNIVERSITY, and
                                        COMMONWEALTH OF VIRGINIA,


                                  By:     s/ M. Hudson McClanahan
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                         CERTIFICATE OF SERVICE

       I hereby certify that, on this 13th day of January, 2020, the foregoing
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT was filed electronically
with the Clerk of Court using the CM/ECF system, which will send notification of
such filing (NEF), to the following:

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